                  Case
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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
      ----------------------------------------------------------
      SHIVA STEIN,                                               :
                                                                 :
                        Plaintiff,                               : Civ. No.   1:20-cv-03716-RA
                                                                 :
      v.                                                         :
                                                                 :
      STEMLINE THERAPEUTICS, INC., RON                           :
      BENTSUR, IVAN BERGSTEIN, M.D.,                             :
      DARREN CLINE, ALAN FORMAN,                                 :
      DANIEL HUME, MARK SARD, and                                :
      KENNETH ZUERBLIS,                                          :
                                                                 :
                        Defendants.                              :
      .                                                          :
      --------------------------------------------------------- :

                                   NOTICE OF VOLUNTARY DISMISSAL

              Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

      Procedure, Plaintiff Shiva Stein hereby voluntarily dismisses her individual claims in the above-

      captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed

      with the Court before service by Defendants of either an answer or a motion for summary

      judgment, Plaintiff’s dismissal of the Action is effective upon filing of this notice.

      DATED: June 3, 2020                                    Respectfully submitted,

                                                             WOLF HALDENSTEIN ADLER
                                                             FREEMAN & HERZ LLP

                                                             /s Gloria Kui Melwani
                                                             Gloria Kui Melwani (GM5661)
                                                             270 Madison Avenue
SO ORDERED.                                                  New York, New York 10016
                                                             Tel: (212) 545-4600
                                                             Fax: (212) 686-0114
                  __________________                         Email: melwani@whafh.com
                                                             Attorneys for Plaintiff
                  Hon. Ronnie Abrams
                  6/4/2020
